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                       UNITED STATES DISTRICT COURT
                 FOR THE MIDDLE DISTRICT OF PENNSYLVANIA


 WILLIAM C. TOTH, JR., et al.,
               Plaintiffs,

                                                                       No. 1:22 Civ. 208
                                                                       (Jordan, Shwartz, Wilson, JJ.)
          v.

 LEIGH M. CHAPMAN, in her official
 capacity as Acting Secretary of the                                  Electronically Filed
 Commonwealth; JESSICA MATHIS, in
 her official capacity as Director for the
 Pennsylvania Bureau of Election Services
 and Notaries; and TOM WOLF, in his
 official capacity as Governor of
 Pennsylvania,

                             Defendants.



                        SUMMARY JUDGMENT JOINT APPENDIX

Application for Leave to Intervene by Bryan Cutler, Speaker of the
 Pennsylvania House of Representatives; Kerry Benninghoff, Majority
 Leader of the Pennsylvania House Of Representatives; Jake Corman,
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                         CERTIFICATE OF SERVICE

       I hereby certify that on this 25th day of March 2022, a true and correct copy
of the foregoing was served upon all counsel of record via the court’s CM/ECF
electronic filing system.


Dated:       March 25, 2022                        /s/ John B. Hill
                                                   John B. Hill
